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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

    v.

    MICHAEL T. FLYNN,                           Criminal Action No. 17-232-EGS

    Defendant.




           FIFTH SUPPLEMENT IN SUPPORT OF AGREED DISMISSAL

         On May 7, 2020, the Government moved to dismiss the prosecution of General

Flynn. ECF No. 198. Until this case is dismissed with prejudice, the Government

has a continuing obligation to provide to the defense all evidence that is exculpatory

of General Flynn, establishes misconduct by the Government in its many capacities

that contributed to this wrongful prosecution, or otherwise is favorable to the

defense. Brady v. Maryland, 373 U.S. 83 (1963). The defense has a continuing

obligation to make a record that mandates this dismissal. Today the Government

produced a single page of FBI notes from January 25, 2020 taken by a lawyer in the

FBI’s Office of General Counsel. In that meeting it was clear, the day after the FBI’s

interview of General Flynn, that “no reasonable prosecutor” would bring a Logan Act

charge regarding the December 29, 2016 phone call with Ambassador Kislyak, which

was similar to communications by “other transition teams.”




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      Moreover, the FBI knew on January 25, 2017, that none of the statements

made by General Flynn to the FBI the day before could be material to any legitimate

FBI investigation or action. These notes are further exculpatory evidence—standing

in direct violation of this court’s Brady order—showing that General Flynn has been

innocent all along, which the FBI knew from the beginning. ECF Nos. 10, 20.

      The notes are attached as Exhibit A. The Government consents to the filing of

the exhibit, as redacted.

Dated: October 7, 2020                Respectfully submitted,

/s/ Jesse R. Binnall                   /s/ Sidney Powell
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                          CERTIFICATE OF SERVICE

      I hereby certify that on October 7, 2020, I electronically filed the foregoing

Supplement with the Clerk of Court using the CM/ECF system. I further certify that

the participants in the case are registered CM/ECF users and that service will be

accomplished by the court’s CM/ECF system.


                                             Respectfully submitted,

                                             /s/ Jesse R. Binnall
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